     Case: 1:17-cv-00375 Document #: 6 Filed: 01/25/17 Page 1 of 13 PageID #:29


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      Case: 1:17-cv-00375 Document #: 6 Filed: 01/25/17 Page 2 of 13 PageID #:29



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Case: 1:17-cv-00375 Document #: 6 Filed: 01/25/17 Page 3 of 13 PageID #:29




            Plaintiff(s):

            A.        Name:

            B.       List all aliases:

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 Case: 1:17-cv-00375 Document #: 6 Filed: 01/25/17 Page 5 of 13 PageID #:29




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             court in the Unitcdl'1u
                                  States:
            A.        Name ofcase and docket number:



            B.        Approximgte {66 6f fiting   tawsuit          Al   a   ,   e_


            c.        List allplaintiffs (ifyou had co-praintifr), including
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                                                                                            -No    n   -

        D.         Listall defendants: N nr,,        e



        E.        courtin whiohthe lawsuitwasfilcd (iffederal
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Case: 1:17-cv-00375 Document #: 6 Filed: 01/25/17 Page 6 of 13 PageID #:29




   Iv.   Statement of Claim:

          state here as briefly as possible the
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Case: 1:17-cv-00375 Document #: 6 Filed: 01/25/17 Page 11 of 13 PageID #:29



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Case: 1:17-cv-00375 Document #: 6 Filed: 01/25/17 Page 12 of 13 PageID #:29




  v.     Relief:

        State briefly ev,a$ what you want the court to do for you. Make no legal
                                                                                 arguments. Cite
        no cases or statutes.


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        The plaintiffdemands that the case be tried by   a   jrry.   E/ res      trNo
                                                         CERTIFICATION

                             By signing this Complain! I cerri$, tbat the facts statod in this
                             complaint are tnre to the best of my knowredgg information and
                             belief. I rmderstand that if this certification is not correct, I may be
                             subject to sanctions by the Court.

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